                             Case 22-10785-JKS                       Doc 1        Filed 08/23/22             Page 1 of 33

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Carestream Health World Holdings, LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              3         2   –      0     4     1       1       6      6    2
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       150 Verona Street
                                       Number               Street                                    Number         Street


                                                                                                      P.O. Box
                                       Rochester, NY 14608
                                          City                            State        Zip Code       City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Monroe County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.carestream.com/en/us/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                               Case 22-10785-JKS                 Doc 1         Filed 08/23/22            Page 2 of 33
Debtor            Carestream Health World Holdings, LLC                               Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            4461 (Health and Personal Care Stores)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☒      A plan is being filed with this petition.
                                                 ☒      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                             Case 22-10785-JKS                    Doc 1         Filed 08/23/22         Page 3 of 33
Debtor           Carestream Health World Holdings, LLC                              Case number (if known)
          Name



10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                      Relationship    Affiliate
                                                    Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                        District      District of Delaware
   List all cases. If more than 1,                                                                                 When            08/23/2022
   attach a separate list.                        Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this     Check all that apply:
    district?
                                      ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have       ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                ☐     It needs to be physically secured or protected from the weather.

                                                ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                       other options).
                                                ☐     Other


                                                Where is the property?
                                                                                         Number       Street



                                                                                         City                              State       Zip Code



                                                Is the property insured?
                                                ☐ No

                                                ☐ Yes.         Insurance agency

                                                               Contact name
                                                               Phone




                  Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☒     1-49                         ☐     1,000-5,000                      ☐     25,001-50,000
    creditors                        ☐     50-99                        ☐     5,001-10,000                     ☐     50,001-100,000
                                     ☐     100-199                      ☐     10,001-25,000                    ☐     More than 100,000
                                     ☐     200-999




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                              Case 22-10785-JKS                   Doc 1         Filed 08/23/22            Page 4 of 33
Debtor            Carestream Health World Holdings, LLC                               Case number (if known)
          Name



15. Estimated assets                  ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                      ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities             ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                      ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         08/23/2022
                                                               MM/ DD / YYYY


                                               /s/ Scott Rosa                                                     Scott Rosa
                                               Signature of authorized representative of debtor                Printed name

                                               Title   Chief Financial Officer




18. Signature of attorney                      /s/ Laura Davis Jones                                          Date        08/23/2022
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Laura Davis Jones
                                               Printed name
                                               Pachulski Stang Ziehl & Jones LLP
                                               Firm name
                                               919 North Market Street, 17th Floor, P.O. Box 8705
                                               Number                 Street
                                               Wilmington                                                             Delaware          19801
                                               City                                                                   State               ZIP Code

                                               (302) 652-4100                                                         ljones@pszjlaw.com
                                               Contact phone                                                               Email address
                                               2436                                                Delaware
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
                           Case 22-10785-JKS            Doc 1      Filed 08/23/22   Page 5 of 33




 Fill in this information to identify the case:
                                                                        ,
 United States Bankruptcy Court for the:
                             District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                            Chapter   11                                         amended filing


                                                    Rider 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Carestream Health, Inc.

    •    Carestream Health, Inc.
    •    Carestream Health Acquisition, LLC
    •    Carestream Health Canada Holdings, Inc.
    •    Carestream Health Holdings, Inc.
    •    Carestream Health International Holdings, Inc.
    •    Carestream Health International Management Company, Inc.
    •    Carestream Health Puerto Rico, LLC
    •    Carestream Health World Holdings, LLC
    •    Lumisys Holding Co.
                   Case 22-10785-JKS          Doc 1        Filed 08/23/22   Page 6 of 33



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                       )
    In re:                                             )      Chapter 11
                                                       )
    CARESTREAM HEALTH WORLD                            )      Case No. 22-___________(___)
    HOLDINGS, LLC,                                     )
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS 1

                                                                                       Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                        Equity Held
                                                   150 Verona Street
      Carestream Health, Inc.                                                              100%
                                               Rochester, New York 14608




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
                Case 22-10785-JKS           Doc 1         Filed 08/23/22   Page 7 of 33



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 CARESTREAM HEALTH WORLD                              )      Case No. 22-___________(___)
 HOLDINGS, LLC,                                       )
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

              Shareholder                                 Approximate Percentage of Shares Held
 Carestream Health, Inc.                                                 100%
                   Case 22-10785-JKS          Doc 1         Filed 08/23/22   Page 8 of 33



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                        )
    In re:                                              )      Chapter 11
                                                        )
    CARESTREAM HEALTH WORLD                             )      Case No. 22-___________(___)
    HOLDINGS, LLC,                                      )
                                                        )
                            Debtor.                     )
                                                        )

                                  CERTIFICATION OF CREDITOR MATRIX

        Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the United
States Bankruptcy Court for the District of Delaware, the above-captioned debtor and its affiliated debtors
in possession (collectively, the “Debtors”) 1 hereby certify that the creditor matrix submitted herewith
(the “Creditor Matrix”) contains the names and addresses of the Debtors’ creditors. To the best of the
Debtors’ knowledge, the Creditor Matrix is complete, correct, and consistent with Debtors’ books and
records.

         The information contained herein is based upon a review of the Debtors’ books and records as of
the petition date. However, no comprehensive legal and/or factual investigations with regard to possible
defenses to any claims set forth in the Creditor Matrix have been completed. Therefore, the listing does
not, and should not be deemed to, constitute: (1) a waiver of any defense to any listed claims; (2) an
acknowledgement of the allowability of any listed claims; and/or (3) a waiver of any other right or legal
position of the Debtors.




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
       identification number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333);
       Carestream Health Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822);
       Carestream Health International Holdings, Inc. (5771); Carestream Health International Management
       Company, Inc. (0532); Carestream Health Puerto Rico, LLC (8359); Carestream Health World
       Holdings, LLC (1662); and Lumisys Holding Co. (3232). The location of the Debtors’ service address
       is: 150 Verona Street, Rochester, New York 14608.
                                       Case 22-10785-JKS                  Doc 1          Filed 08/23/22              Page 9 of 33



    Fill in this information to identify the case:

    Debtor name:                  Carestream Health, Inc., et al. 1
    United States Bankruptcy Court for the ______District of Delaware__
                                                 (State)
    Case number (If known):                                                                                                                       ☐ Check if this is an
                                                                                                                                                  amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders                                12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
    Name of creditor and complete mailing        Name, telephone number, and email            Nature of the    Indicate if    Amount of unsecured claim
    address, including zip code                  address of creditor contact                  claim (for       claim is       If the claim is fully unsecured, fill in only unsecured
                                                                                              example,         contingent     claim amount. If claim is partially secured, fill in total
                                                                                              trade debts,     ,              claim amount and deduction for value of collateral
                                                                                              bank loans,      unliquidat     or setoff to calculate unsecured claim.
                                                                                              professional     ed, or         Total claim, if      Deduction for       Unsecured
                                                                                              services, and    disputed       partially            value of            claim
                                                                                              government                      secured              collateral or
                                                                                              contracts)                                           setoff

          AURIGA POLYMER INC
                                                 Thomas Brekovsky
          4235 S STREAM BLVD.,                                                                    Trade
    1                                            980-233-8226                                                                                                          $2,695,600
          STE 450                                                                                Vendor
                                                 tom.brekovsky@us.indorama.net
          CHARLOTTE, NC 28217 USA
          INNOCARE OPTOELECTONICS
                                                 Eric Raymond
          USA INC.                                                                                Trade
    2                                            408-573-8438                                                                                                          $2,025,715
          101 METRO DR, SUITE 510                                                                Vendor
                                                 eric.p.raymond@innocare-x.com
          SAN JOSE, CA 95110 USA
          SKC INC.                               Daryl Jones
                                                                                                  Trade
    3     1000 SKC DRIVE                         770-235-5234                                                                                                          $1,846,660
                                                                                                 Vendor
          COVINGTON, GA 30014 USA                djones@skcfilms.com
          SAP AMERICA INC.
                                                 Jim Soboleski
          3999 WEST CHESTER PIKE                                                                  Trade
    4                                            859-406-2873                                                                                                          $1,742,395
          NEWTOWN SQUARE, PA                                                                     Vendor
                                                 jim.soboleski@sap.com
          19073 USA
          EASTMAN KODAK COMPANY
                                                 John Brennan
          INC                                                                                     Trade
    5                                            585-477-3747                                                                                                          $1,056,719
          1669 LAKE AVENUE                                                                       Vendor
                                                 john.m.brennan@kodak.com
          ROCHESTER, NY 14615 USA




1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
        are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health Canada Holdings, Inc.
        (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International Holdings, Inc. (5771); Carestream Health
        International Management Company, Inc. (0532); Carestream Health Puerto Rico, LLC (8359); Carestream Health World
        Holdings, LLC (1662); and Lumisys Holding Co. (3232). The location of the Debtors’ service address is: 150 Verona Street,
        Rochester, New York 14608.

    Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 1
                                  Case 22-10785-JKS             Doc 1         Filed 08/23/22               Page 10 of 33

Name of creditor and complete mailing   Name, telephone number, and email            Nature of the    Indicate if    Amount of unsecured claim
address, including zip code             address of creditor contact                  claim (for       claim is       If the claim is fully unsecured, fill in only unsecured
                                                                                     example,         contingent     claim amount. If claim is partially secured, fill in total
                                                                                     trade debts,     ,              claim amount and deduction for value of collateral
                                                                                     bank loans,      unliquidat     or setoff to calculate unsecured claim.
                                                                                     professional     ed, or         Total claim, if      Deduction for       Unsecured
                                                                                     services, and    disputed       partially            value of            claim
                                                                                     government                      secured              collateral or
                                                                                     contracts)                                           setoff

                                        AP – ap@trimedx.com
                                        Kellie Barber –
                                        kellie.barber@trimedx.com
                                        (Parts and Service calls)
      TRIMEDX HOLDINGS, LLC
                                        Gloria Brown –                                                 Subject
      5451 LAKEVIEW PARKWAY S                                                         Customer
6                                       gloria.brown@trimedx.com                                         to                                                    $933,230
      DRIVE INDIANAPOLIS, IN                                                          Prepaids
                                        (Service Agreements)                                            Offset
      46268 USA
                                        David Blomeke Senior Operations
                                        Strategy Specialist
                                        David.Blomeke@trimedx.com
                                        317-957-5169
      AMELIA US LLC                     Robert Maze
                                                                                         Trade
7     17 STATE ST, 14TH FL,             212-798-5691                                                                                                           $920,059
                                                                                        Vendor
      NEW YORK, NY 10005 USA            robert.maze@ipsoft.com
      UNIVAR SOLUTIONS USA INC.
                                        Matt Stephens
      3075 HIGHLANDS PKWAYS,
                                        832-795-3760                                     Trade
8     STE 200                                                                                                                                                  $901,097
                                        matt.stephens@univarsolutions.c                 Vendor
      DOWNERS GROVE, IL 60515
                                        om
      USA
      SCHOELLER TECHNOCELL
                                        Mark Ward
      GMBH & CO. KG                                                                      Trade
9                                       315-298-8428 msward@felix-                                                                                             $844,656
      BURG GRETESCH,                                                                    Vendor
                                        schoeller.com
      OSNABRüCK, 03 DE
                                        Anita Werner
      RIVERSIDE ELECTRONICS LTD
                                        507-523-5517                                     Trade
10    ONE RIVERSIDE DR.                                                                                                                                        $815,376
                                        awerner@riversideintegrated.co                  Vendor
      LEWISTON, MN 55952 USA
                                        m
      LARSEN & TOUBRO
      INFOTECH LIMITED                  Ojas.Lokhande
                                                                                         Trade
11    2035 LINCOLN HIGHWAY              732-248-6151                                                                                                           $780,853
                                                                                        Vendor
      STE. 3000                         Ojas.Lokhande@lntinfotech.com
      EDISON, NJ 08817 USA
      MCI COMMUNICATIONS
      SERVICES INC.                     Chad Hutchings
                                                                                         Trade
12    22001 LOUDOUN COUNTY              303-305-1534                                                                                                           $751,204
                                                                                        Vendor
      PKWY                              Chad.hutchings@verizon.com
      ASHBURN, VA 20147
      ROUSSELOT INC.
                                        Michael Schmit
      SUITE 2210 6737 W                                                                  Trade
13                                      262-363-6064                                                                                                           $646,589
      WASHINGTON STREET                                                                 Vendor
                                        mike.schmit@rousselot.com
      WEST ALLIS, WI 53214 USA
      MERCURY AIRCRAFT INC.
                                        Peter Hannan
      PO BOX 338 8126 COUNTY                                                             Trade
14                                      607-569-4213                                                                                                           $601,619
      ROUTE 88,                                                                         Vendor
                                        pete_hannan@mercurycorp.net
      HAMMONDSPORT, NY 14840

Official Form 204                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 2
                                  Case 22-10785-JKS             Doc 1         Filed 08/23/22               Page 11 of 33

Name of creditor and complete mailing   Name, telephone number, and email            Nature of the    Indicate if    Amount of unsecured claim
address, including zip code             address of creditor contact                  claim (for       claim is       If the claim is fully unsecured, fill in only unsecured
                                                                                     example,         contingent     claim amount. If claim is partially secured, fill in total
                                                                                     trade debts,     ,              claim amount and deduction for value of collateral
                                                                                     bank loans,      unliquidat     or setoff to calculate unsecured claim.
                                                                                     professional     ed, or         Total claim, if      Deduction for       Unsecured
                                                                                     services, and    disputed       partially            value of            claim
                                                                                     government                      secured              collateral or
                                                                                     contracts)                                           setoff
      USA



      BARENTZ NORTH AMERICA
      INTERMEDIATE                      Mark Maroon                                      Trade
15                                                                                                                                                             $600,386
      1390 JAYCOX RD.                   440-937-1000 mark@barentz.us                    Vendor
      AVON, OH 44011 USA
      NISSAN CHEMICAL AMER
      CORP                              William Smith
                                                                                         Trade
16    10375 RICHMOND AVE., STE.         713-532-4745                                                                                                           $599,400
                                                                                        Vendor
      1000                              will.smith@nissanchem-usa.com
      HOUSTON, TX 77042 USA
      EASTMAN CHEMICAL
                                        Paul Anderson
      COMPANY                                                                            Trade
17                                      423-229-4981                                                                                                           $564,291
      100 N EASTMAN ROAD,                                                               Vendor
                                        panderson@eastman.com
      KINGSPORT, TN 37660 USA
      ELEMENT FLEET
      CORPORATION                       Dale-Ann Gilbert 514-612-6812                    Trade
18                                                                                                                                                             $525,104
      940 RIDGEBROOK RD,                dgilbert@elementcorp.com                        Vendor
      SPARKS GLENCOE, MD US
      POUDRE VALLEY REA
                                        Amy Rosier
      PO BOX 272550                                                                      Trade
19                                      970-282-6445                                                                                                           $510,768
      FORT COLLINS, CO 80527-                                                           Vendor
                                        arosier@pvrea.coop
      2550 USA
      ORIENT INTL HOLDING
      SHANGHAI                          Mr. Yan Zheng
                                                                                         Trade
20    85 LOU SHAN GUAN RD               021-37285158                                                                                                           $496,139
                                                                                        Vendor
      SUITE B,                          yanzheng1@vip.sina.com
      SHANGHAI 200336 CHINA
      VAREX IMAGING
                                        David Carmona
      CORPORATION
                                        440-543-1882                                     Trade
21    1678 S. PIONEER ROAD                                                                                                                                     $485,509
                                        david.carmona@vareximaging.co                   Vendor
      SALT LAKE CITY, UT 84104
                                        m
      USA
      IRAY KOREA LIMITED
       1833,18F,5,GASAN                                                                  Trade
22                                      Betty Li Bin.li@iraygroup.com                                                                                          $475,325
      DIGITAL1-RO,GEUMCH,                                                               Vendor
      SEOUL, 01 KR
      ALLIANCE CONTRACT
                                        Mr. GH Tan
      MANUFACTURING SDN                                                                  Trade
23                                      (6)04-399-2922 gh.tan@acm-                                                                                             $412,548
      2006JALAN JELAWAT,,                                                               Vendor
                                        holdings.com
      PENANG, MY MY




Official Form 204                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 3
                                  Case 22-10785-JKS             Doc 1         Filed 08/23/22               Page 12 of 33

Name of creditor and complete mailing   Name, telephone number, and email            Nature of the    Indicate if    Amount of unsecured claim
address, including zip code             address of creditor contact                  claim (for       claim is       If the claim is fully unsecured, fill in only unsecured
                                                                                     example,         contingent     claim amount. If claim is partially secured, fill in total
                                                                                     trade debts,     ,              claim amount and deduction for value of collateral
                                                                                     bank loans,      unliquidat     or setoff to calculate unsecured claim.
                                                                                     professional     ed, or         Total claim, if      Deduction for       Unsecured
                                                                                     services, and    disputed       partially            value of            claim
                                                                                     government                      secured              collateral or
                                                                                     contracts)                                           setoff

      GS YUASA ENERGY
                                        Jim Morath
      SOLUTIONS, INC.                                                                    Trade
24                                      262-490-7457                                                                                                           $395,224
      1150 NORTHMEADOW PKWY                                                             Vendor
                                        jim.morath@gsyuasa-es.com
      ROSWELL, GA 30076 USA
      MILLER & ASSOCIATES
      SOURCING                          James Miller
                                                                                         Trade
25    P.O. BOX 244 2280 EAST            585-472-1948                                                                                                           $391,201
                                                                                        Vendor
      AVENUE                            james@millerandassociates.com
      ROCHESTER, NY 14610 USA
      INVENTUS POWER (ILLINOIS)
      LLC                               Miguel Conde
                                                                                         Trade
26    1200 INTERNATIONALE               717-309-0046                                                                                                           $371,277
                                                                                        Vendor
      PKWY                              mconde@inventuspower.com
      WOODRIDGE, IL 60517 US
      BJ GEAR A/S                       Gert Christensen
                                                                                        Trade
27    NIELS BOHRS VEJ 47,               45 87 40 80 80                                                                                                         $360,184
      SKANDERBORG, DK                   gc@bj-gear.dk
                                                                                       Vendor

      BRENNTAG NORTH
      AMERICA, INC.                     Anita Kuo
                                                                                         Trade
28    1000 COOLIDGE ST.,                972-795-1160                                                                                                           $359,050
                                                                                        Vendor
      SOUTH PLAINFIELD, NJ 07080        akuo@brenntag.com
      USA
      ENMARQ TECHNOLOGIES
                                        Kiran Alluri
      LIMITED                                                                            Trade
29                                      44 01182954274                                                                                                         $337,325
      71-75, SHELTON STREET,                                                            Vendor
                                        kiran.a@enmarq.com
      LONDON, LO GB
      HENAN HARVEST CHEM CO.,           Mr. George Zhang
      LTD                               86 13939 0299 33                                 Trade
30                                                                                                                                                             $326,610
      24THFL NO.1 BUILDING,             george@hnharvest.com                            Vendor
      ZHENGZHOU, 180 CN




Official Form 204                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 4
              Case 22-10785-JKS        Doc 1     Filed 08/23/22     Page 13 of 33




                        OMNIBUS WRITTEN CONSENT OF
                   THE BOARD OF DIRECTORS OR SOLE MEMBER

                                  Dated as of August 22, 2022

        After due deliberation, the undersigned, being all of the members of the board of
directors or sole member, as applicable (collectively, the “Board”), of each of the companies
listed on Schedules 1 through 9 attached hereto (each, a “Company” and collectively,
the “Companies”), hereby take the following actions and adopt the following resolutions
(the “Resolutions”) by written consent as of the date first written above, pursuant to the bylaws,
limited partnership agreements, or the limited liability company agreements of each Company, as
applicable, and the applicable laws of the jurisdiction in which such Company is organized:

                                       RESOLUTIONS


Chapter 11 Filing

WHEREAS, the Board has reviewed and considered the following:

       (1)     the presentations by the Companies’ management and the legal and financial advisors
               of the Companies regarding the liabilities and liquidity of the Companies, the
               strategic alternatives available to them, and the impact of the foregoing on each
               Company’s businesses;

       (2)     the restructuring support agreement, the form of which the Board had previously
               reviewed and approved (the “Restructuring Support Agreement,” and the transactions
               contemplated thereby, collectively, the “Restructuring Transactions”);

       (3)     the information and advice previously provided to and reviewed by the Board; and

       (4)     the related matters reported on at meetings of the Board on and before the date
               hereof; and

       WHEREAS, the Restructuring Support Agreement provides that the
Restructuring Transactions are to be implemented through the Companies’ filing of voluntary
petitions under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and
pursuing confirmation and consummation of the Joint Prepackaged Chapter 11 Plan of
Reorganization of Carestream Health, Inc. and Its Debtor Affiliates (as amended,
supplemented, or modified from time to time, and including all supplements and exhibits
thereto, the “Plan”);
              Case 22-10785-JKS         Doc 1     Filed 08/23/22      Page 14 of 33




       WHEREAS, the Board has had the opportunity to consult with the Companies’
management and the legal and financial advisors of the Companies and to fully consider each of
the strategic alternatives available to the Companies; and

       WHEREAS, the Board has determined, in its business judgment, that it is desirable and
in the best interests of each Company and its respective stakeholders for the Companies to
implement the Restructuring Transactions by (1) filing, or causing the filing of, voluntary
petitions under chapter 11 of the Bankruptcy Code and consummating the Plan; and (2) filing,
or causing the filing of, any other petition for relief or recognition or other order that may be
desirable under applicable law in the United States; and that such implementation will
maximize the value of each Company.

NOW, THEREFORE, BE IT

        RESOLVED, that in the business judgment of the Board, it is desirable and in the best
interests of each Company and its respective stakeholders for each Company to implement the
Restructuring Transactions by (1) filing, or causing the filing of, a voluntary case under
chapter 11 of the Bankruptcy Code (a “Chapter 11 Case”) in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) and consummating the Plan; and
(2) filing, or causing the filing of, any other petition for relief or recognition or other order that
may be desirable under applicable law in the United States;

       RESOLVED, that each of the following is hereby authorized and approved in all
respects: (1) each Company’s filing, or causing to be filed, a Chapter 11 Case under the
Bankruptcy Code in the Bankruptcy Court; (2) each Company’s pursuing confirmation and
consummation of the Plan and completing the same; and (3) each Company’s filing, or causing
to be filed, any other petition for relief or recognition or other order that may be desirable under
applicable law in the United States; and

      RESOLVED, that the Chief Executive Officer, the Chief Financial Officer, any Vice
President, or any other duly appointed officer of the Companies as deemed necessary and
appropriate (collectively, the “Authorized Signatories”), with power of delegation, is hereby
authorized to execute and file on behalf of each Company all petitions, schedules, lists and other
motions, papers, or documents, and to take any and all action that they deem necessary or
proper to obtain such relief, including, without limitation, any action necessary to maintain the
ordinary course operation of each Company’s business.

Retention of Professionals

       RESOLVED, that each Authorized Signatory be, and hereby is, authorized and directed
to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
(together, “Kirkland”) as general bankruptcy counsel to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
each Company’s rights and obligations, including filing any motions, objections, replies,
applications, or other papers; and in connection therewith, each Authorized Signatory, with
power of delegation, is hereby authorized and directed to execute appropriate retention




                                                 2
              Case 22-10785-JKS          Doc 1    Filed 08/23/22     Page 15 of 33




agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of Kirkland;

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized and directed
to employ the law firm of Pachulski Stang Ziehl & Jones LLP (“Pachulski”) as local bankruptcy
counsel to represent and assist each Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance each Company’s rights and obligations,
including filing any motions, objections, replies, applications, or other papers; and in connection
therewith, each Authorized Signatory, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to
be filed an appropriate application for authority to retain the services of Pachulski;

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized and directed
to employ the firm AlixPartners, LLC (“AlixPartners”) as restructuring advisor to assist each
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance each Company’s rights and obligations, including filing any motions, objections,
replies, applications, or other papers; and in connection therewith, each Authorized Signatory,
with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of AlixPartners;

       RESOLVED, that each Authorized Signatory be, and hereby is, authorized and directed
to employ the firm Houlihan Lokey, Inc. (“Houlihan”) as financial advisor and investment
banker to assist each Company in carrying out its duties under the Bankruptcy Code, and to take
any and all actions to advance each Company’s rights and obligations, including filing any
motions, objections, replies, applications, or other papers; and in connection therewith, each
Authorized Signatory, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of Houlihan;

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized and directed
to employ the firm of Kurtzman Carson Consultants LLC (“KCC”) as claims and noticing agent
to assist each Company in carrying out its duties under the Bankruptcy Code, and to take any and
all actions to advance each Company’s rights and obligations, including filing any motions,
objections, replies, applications, or other papers; and in connection therewith, each Authorized
Signatory, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of KCC;

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized and directed
to employ any other professionals to assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
obligations, including filing any motions, objections, replies, applications, or other papers; and in
connection therewith, each Authorized Signatory, with power of delegation, is hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain the services of any other
professionals as necessary; and


                                                 3
              Case 22-10785-JKS         Doc 1     Filed 08/23/22     Page 16 of 33




        RESOLVED, that each Authorized Signatory be, and hereby is, with power of
delegation, authorized, empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that such Authorized Signatory deems
necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with a view
to the successful prosecution of such case.

Debtor‑in‑Possession Financing, Cash Collateral, and Adequate Protection

        WHEREAS, reference is made to that certain Amended and Restated Credit Agreement
(First Lien), by and among Carestream Health, Inc., as company, Carestream Health Holdings,
Inc., as holdings, the guarantors thereunder, the lenders from time to time party thereto, and the
administrative agent thereunder, dated as of June 7, 2013, as amended and restated,
supplemented, or otherwise modified from time to time (the “First Lien Credit Agreement”);

       WHEREAS, reference is made to that certain Second Lien Credit Agreement, by and
among Carestream Health, Inc., as company, Carestream Health Holdings, Inc., as holdings, the
guarantors thereunder, the lenders from time to time party thereto, and the administrative agent
thereunder, dated as of June 7, 2013, as amended and restated, supplemented, or otherwise
modified from time to time (the “Second Lien Credit Agreement” and together with the First
Lien Credit Agreement, the “Prepetition Financing Documents”);

         WHEREAS, the Company has negotiated (i) the terms of that certain Senior Secured
Superpriority Debtor-in-Possession Credit Facility Commitment Letter, to be dated on or around
the date hereof, among Carestream Health Holdings, Inc., as a guarantor thereunder,
(“Holdings”), Carestream Health, Inc., as the borrower (the “Borrower”) and the other
Companies (other than Carestream Health Puerto Rico, Inc.), as guarantors thereunder (together
with Holdings and the Borrower, the “DIP Loan Parties”) and the commitment parties party
thereto (the “DIP Commitment Letter”), which contemplates the entry of the DIP Loan Parties
into a multiple-draw superpriority senior secured debtor in possession term loan facility
(the “DIP Facility”) consistent with the terms and conditions set forth in the term sheet attached
to the Commitment Letter as Exhibit A thereto (the “DIP Term Sheet”, the lenders described
therein, the “DIP Lenders” and the administrative agent and collateral agent under the DIP
Facility, the “DIP Agent”), the form of which (or substantially the form) has been provided to
each Board, (ii) the terms of that certain DIP Administrative Agent Fee Letter, to be dated on or
around the date hereof, among Holdings and the DIP Agent (the “DIP Agency Fee Letter”)
providing for the payment of the DIP Agent’s fees for servicing the DIP Facility and
(iii) arrangements for postpetition financing and use of cash collateral, as that term is defined in
section 363(a) of the Bankruptcy Code (the “Cash Collateral”); and

       WHEREAS, the DIP Loan Parties have further negotiated and agreed in the DIP
Commitment Letter that upon the request of Required DIP Lenders (as defined in the DIP
Commitment Letter and pursuant to the terms thereof) they shall also enter into (i) a senior
secured superpriority debtor in possession credit agreement on the terms set forth in the DIP
Term Sheet (the “DIP Credit Agreement”), (ii) one or more guaranty and security agreements
evidencing the guaranties of the DIP obligations by the Company guarantors thereunder and the


                                                 4
              Case 22-10785-JKS         Doc 1    Filed 08/23/22     Page 17 of 33




liens on certain of the assets of the DIP Loan Parties securing the DIP obligations and (iii) any
other definitive documentation requested by Required DIP Lenders (such documents described
in clauses (ii) and (iii) hereof, together with the DIP Commitment Letter, the DIP Agency Fee
Letter and the DIP Credit Agreement, if any, the “DIP Documents” and the transactions
contemplated thereby the “DIP Transactions”).

       NOW, THEREFORE, BE IT,

        RESOLVED, that in the business judgment of the Board, each Company will benefit
from using collateral, including Cash Collateral, that is security for the holders of Company
obligations under the Prepetition Financing Documents (the “Prepetition Secured Parties”);

       RESOLVED, that the execution, delivery and performance of the DIP Documents and/or
the Additional DIP Documents (as defined below) to which any or all of the Companies are a
party and the consummation of the transactions contemplated thereby be, and they hereby are,
declared advisable and fair to, and in the best interest of, each such Company and, in the business
judgment of each Board, each such Company will benefit from entering into and performing
under the DIP Documents and/or the Additional DIP Documents;

        RESOLVED, that for each Company to use and benefit from using the Cash Collateral,
and in accordance with section 363 of the Bankruptcy Code, each Company will
provide certain liens, claims, and other entitlements to the Prepetition Secured Parties
(collectively, the “Adequate Protection Obligations”), as documented in a proposed interim order
and a proposed final order (collectively, the “DIP Orders”) to be submitted to the Bankruptcy
Court for approval;

        RESOLVED, that the form, terms, and provisions of the DIP Term Sheet, the DIP
Agency Fee Letter, the DIP Documents, and any documents and agreements related thereto or
contemplated thereunder, and the DIP Orders to which each Company shall be subject, and the
actions and transactions contemplated thereby, including (i) the borrowing of funds pursuant to
the terms of the DIP Commitment Letter and the DIP Orders by the DIP Loan Parties and the
provision of the guarantees and security with respect thereto by the DIP Loan Parties and (ii) the
negotiation, execution, delivery and performance of the DIP Documents, and all other
agreements, instruments, documents, notices and certificates constituting exhibits to or that may
be required, necessary, appropriate, desirable or advisable to be executed and delivered pursuant
to the DIP Documents or otherwise permitted thereunder or related thereto (each an “Additional
DIP Document” and, collectively, the “Additional DIP Documents”) (including, for the
avoidance of doubt, the approval of the format and terms of, and executing and delivering, any
such schedules, confirmations and other documents in connection with the DIP Documents and
the Additional DIP Documents that are requested by the DIP Agent) and the making of
representations and compliance with the covenants thereunder and the assumption of any
obligations under and in respect of any of the foregoing, in each case, are hereby authorized and
approved are authorized and approved in all respects; and each Authorized Signatory is
authorized and empowered, in the name of and on behalf of each Company, to take such actions
and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause
the performance of, the DIP Documents and the Companies’ respective obligations thereunder



                                                5
              Case 22-10785-JKS         Doc 1    Filed 08/23/22     Page 18 of 33




(collectively, the “DIP Obligations”), and to perform under the DIP Orders and cause the
Companies’ performance of their respective obligations thereunder;

      RESOLVED, that each Company, as a debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations and
the DIP Obligations, including granting liens on its assets to secure claims that constitute
Adequate Protection Obligations and the DIP Obligations;

        RESOLVED, that the Authorized Officers, acting alone or with one or more other
Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in the
name of, and on behalf of, each Company, as a debtors and debtor in possession, to take such
actions as in their discretion is determined to be necessary, desirable, appropriate, or proper to
consummate and implement the DIP Transactions, including, without limitation, (i) the execution
and delivery of the DIP Documents and each Additional DIP Document, with such changes
therein and additions thereto as any such Authorized Officer, in his or her sole discretion, may
deem necessary, convenient, appropriate, desirable or advisable; (ii) the preparation, negotiation,
execution, delivery and filing of any agreements, certificates or other instruments or documents
(including mortgages, security agreements, pledge agreements, financing statements and similar
documents related to the DIP Documents or the DIP Transactions), (iii) the modification or
amendment (whether prior to or subsequent to the date hereof) of any of the terms and conditions
of the DIP Documents and/or any Additional DIP Documents, (iv) the payment of any
consideration, (v) the payment of indemnities, fees, costs, expenses and taxes as any such
Authorized Officer, in his or her sole discretion, may deem necessary, appropriate or advisable
(such acts to be conclusive evidence that such Authorized Officer deemed the same to meet such
standard) in order to effect the DIP Transactions, (vi) the creation and/or management of any
other demand deposit or operating account relationships or other cash management services; and
(vii) and all acts of any such Authorized Officer taken pursuant to the authority granted herein,
or having occurred prior to the date hereof in order to effect such transactions, are hereby
approved, adopted, ratified and confirmed in all respects;

        RESOLVED, that the Authorized Officers, acting alone or with one or more other
Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in the
name of, and on behalf of, the Companies, as debtors and debtors in possession, to file or to
authorize the DIP Agent to file any Uniform Commercial Code (the “UCC”) financing
statements, any other equivalent filings, any intellectual property filings and recordation and any
necessary assignments for security or other documents in the name of the Companies that the
DIP Agent deems necessary or appropriate to perfect any lien or security interest granted under
the DIP Orders, including any such UCC financing statement containing a generic description of
collateral, such as “all assets,” “all property now or hereafter acquired” and other similar
descriptions of like import, and to execute and deliver, and to record or authorize the recording
of, such mortgages and deeds of trust in respect of real property of the Companies and such other
filings in respect of intellectual and other property of the Companies, in each case as the DIP
Agent may reasonably request to perfect the security interests of the DIP Agent under the
DIP Orders;




                                                6
              Case 22-10785-JKS        Doc 1    Filed 08/23/22     Page 19 of 33




        RESOLVED, that the Authorized Officers, acting alone or with one or more other
Authorized Officers be, and each of them hereby is, authorized, directed, and empowered in the
name of, and on behalf of, the Companies, as debtors and debtors in possession, to take all such
further actions, including, without limitation, to pay or approve the payment of all fees and
expenses payable in connection with the DIP Facility and all fees and expenses incurred by or on
behalf of the Companies in connection with the foregoing resolutions, in accordance with the
terms of the DIP Documents, which shall in their sole judgment be necessary, proper, or
advisable to perform any of the Companies’ obligations under or in connection with the DIP
Orders or any of the other DIP Documents and the transactions contemplated therein and to fully
carry out the intent of the foregoing resolutions;

       RESOLVED, that each Authorized Officer of each Company, any one of whom may
take action without the joinder of any of the others, is hereby authorized, in the name and on
behalf of such Company, respectively, to (a) prepare any amendments, waivers, consents,
supplements, or other modifications under the DIP Documents and/or each Additional DIP
Document to which such Company is a party as may be necessary, convenient, advisable,
desirable or appropriate at any time from time to time, which amendments, waivers, consents or
supplements may provide for modifications or relief under such agreements or documents and
may require consent payments, fees or other amounts payable in connection therewith, and
(b) execute and deliver such amendments, waivers, consents, supplements, or other
modifications under such agreements or documents as such Authorized Officer shall deem to be
necessary, convenient, advisable, desirable or appropriate, such execution and delivery by such
Authorized Officer to be conclusive evidence of his or her determination and approval of the
necessity, appropriateness or advisability thereof; and

        RESOLVED, that (a) the signature of any Authorized Officer of any Company to each
DIP Document, and each Additional DIP Document and any amendments, waivers, consents,
supplements, or other modifications to which the respective Company is a party shall be
conclusive evidence of the authority of such Authorized Officer to execute and deliver such
documents and (b) any person dealing with any Authorized Officer of each Company in
connection with any of the foregoing matters shall be conclusively entitled to rely upon the
authority of such Authorized Officer and by his or her execution of any document or agreement,
the same shall be valid and binding obligations of such Company enforceable in accordance with
its terms.

General

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates),
any one of whom may act without the joinder of any of the others, are hereby individually
authorized and empowered, in the name of and on behalf of the Companies, to take or cause to
be taken any and all such other and further action including, but not limited to, (i) the seeking,
preparation and negotiation of such additional agreements, amendments, supplements,
modifications, consents, waivers, reports, documents, instruments, applications, notes or
certificates not now known but which may be required, (ii) the seeking, preparation and
negotiation of such changes and additions to any agreements, amendments, supplements, other



                                               7
             Case 22-10785-JKS         Doc 1     Filed 08/23/22     Page 20 of 33




modifications, consents, waivers, reports, documents, instruments, applications, notes or
certificates currently existing, (iii) the execution, acknowledgement, delivery, performance and
filing (if applicable) of any of the foregoing and (iv) the payment of all fees, consent payments,
taxes, indemnities and other expenses, in each case as in such officer’s judgment, shall be
necessary, advisable, convenient or desirable in order to fully carry out the intent and
accomplish the purposes of the Resolutions adopted herein, all of such actions, executions,
deliveries, filings and payments to be conclusive evidence of such approval or that such
Authorized Signatory deemed the same to be so necessary, convenient, appropriate, desirable or
advisable; and that all such actions, executions, deliveries, filings and payments taken or made
at any time in connection with the transactions contemplated by the foregoing resolutions
hereby are approved, adopted, ratified and confirmed in all respects as the acts and deeds of
such Company, respectively, as if specifically set out in these resolutions;

       RESOLVED, that, to the extent that any Company serves as (i) the sole member or
manager, (ii) the managing member, (iii) the general partner or (iv) otherwise as the governing
body (the “Controlling Party”), in each case, of any subsidiary of such Company
(the “Controlled Party”), each Authorized Officer of the Controlling Party, any one of whom
may act without the joinder of any of the others, is hereby authorized in the name and on behalf
of each Controlling Party (acting for such Controlled Company in the capacity set forth above,
as applicable), to take all of the actions on behalf of such Controlled Party that an Authorized
Officer is herein authorized to take on behalf of such Controlling Party;

        RESOLVED, that each Board hereby adopts and incorporates by reference any form of
specific resolution to carry into effect the intent and purpose of the foregoing resolutions, or to
cover authority included in matters authorized in the foregoing resolutions, including forms of
resolutions in connection therewith that may be required by any state, other jurisdiction or other
institution, person or agency, and a copy of these Resolutions shall be filed with the records of
the meetings of the Board and certified as duly adopted thereby;

       RESOLVED, that the Board has received sufficient notice of the actions and transactions
relating to the matters contemplated by the foregoing Resolutions, as may be required by the
organizational documents of each Company, or hereby waive any right to have received
such notice;

       RESOLVED, that all acts, actions and transactions relating to the matters contemplated
by the foregoing Resolutions done in the name of and on behalf of each Company, which acts
would have been approved by the foregoing Resolutions except that such acts were taken before
the adoption of these Resolutions, are hereby in all respects approved and ratified as the true
acts and deeds of each Company with the same force and effect as if each such act, transaction,
agreement or certificate has been specifically authorized in advance by the Resolutions of the
Board; and

       RESOLVED, that (a) the foregoing Resolutions may be executed and delivered
electronically (including by facsimile or portable document format (pdf) transmission), (b) these
Resolutions may be executed in one or more counterparts, each of which shall be deemed an
original and all of which shall constitute one and the same instrument and (c) facsimile and



                                                8
            Case 22-10785-JKS       Doc 1    Filed 08/23/22    Page 21 of 33




other electronic copies of manually-signed originals shall have the same effect as manually-
signed originals and shall be binding on each Board and each Company.



                                            ***




                                            9
             Case 22-10785-JKS        Doc 1     Filed 08/23/22        Page 22 of 33




       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                                   Board of Directors of the Company listed on
                                                   Schedule 1



                                                    By:     /s/ Robert V. Baumgartner
                                                          Name: Robert V. Baumgartner



                                                    By:     /s/ Joseph F. Dooley
                                                          Name: Joseph F. Dooley



                                                    By:     /s/ William A. Sanger
                                                          Name: William A. Sanger



                                                    By:     /s/ Eliot L. Siegel, M.D.
                                                          Name: Eliot L. Siegel, M.D.



                                                    By:     /s/ Michael L. Smith
                                                          Name: Michael L. Smith



                                                    By:     /s/ David C. Westgate
                                                          Name: David C. Westgate



                                                    By:     /s/ Patrick J. Bartels, Jr.
                                                          Name: Patrick J. Bartels, Jr.



                                                    By:     /s/ Adam Cobourn
                                                          Name: Adam Cobourn




                         [Signature Page for Carestream Health Holdings, Inc.]
             Case 22-10785-JKS      Doc 1      Filed 08/23/22       Page 23 of 33




       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                                  Board of Directors of the Company listed on
                                                  Schedule 2



                                                  By:     /s/ Robert V. Baumgartner
                                                        Name: Robert V. Baumgartner



                                                  By:     /s/ Joseph F. Dooley
                                                        Name: Joseph F. Dooley



                                                  By:     /s/ William A. Sanger
                                                        Name: William A. Sanger



                                                  By:     /s/ Eliot L. Siegel, M.D.
                                                        Name: Eliot L. Siegel, M.D.



                                                  By:     /s/ Michael L. Smith
                                                        Name: Michael L. Smith



                                                  By:     /s/ David C. Westgate
                                                        Name: David C. Westgate



                                                  By:     /s/ Patrick J. Bartels, Jr.
                                                        Name: Patrick J. Bartels, Jr.



                                                  By:     /s/ Adam Cobourn
                                                        Name: Adam Cobourn




                            [Signature Page for Carestream Health, Inc.]
             Case 22-10785-JKS       Doc 1     Filed 08/23/22       Page 24 of 33




       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                                  Board of Directors of the Company listed on
                                                  Schedule 3



                                                   By:     /s/ Alisa B. Hoy
                                                         Name: Alisa B. Hoy




                      [Signature Page for Carestream Health World Holdings LLC]
             Case 22-10785-JKS        Doc 1      Filed 08/23/22       Page 25 of 33




       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                                   Board of Directors of the Company listed on
                                                   Schedule 4



                                                    By:     /s/ Alisa B. Hoy
                                                          Name: Alisa B. Hoy




                      [Signature Page for Carestream Health Canada Holdings, Inc.]
             Case 22-10785-JKS          Doc 1     Filed 08/23/22       Page 26 of 33




       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                                     Board of Directors of the Company listed on
                                                     Schedule 5



                                                      By:     /s/ Alisa B. Hoy
                                                            Name: Alisa B. Hoy




               [Signature Page for Carestream Health International Management Company, Inc.]
             Case 22-10785-JKS        Doc 1     Filed 08/23/22       Page 27 of 33




       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                                   CARESTREAM HEALTH, INC., being the Sole
                                                   Member of the Company listed on Schedule 6



                                                    By:     /s/ Alisa B. Hoy
                                                          Name: Alisa B. Hoy
                                                          Title: Secretary




                        [Signature Page for Carestream Health Acquisition, LLC]
             Case 22-10785-JKS     Doc 1      Filed 08/23/22       Page 28 of 33




       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                                Board of Directors of the Company listed on
                                                Schedule 7



                                                 By:     /s/ Alisa B. Hoy
                                                       Name: Alisa B. Hoy




                             [Signature Page for Lumisys Holding Co.]
             Case 22-10785-JKS          Doc 1     Filed 08/23/22        Page 29 of 33




       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                                     Board of Directors of the Company listed on
                                                     Schedule 8



                                                      By:     /s/ Alisa B. Hoy
                                                            Name: Alisa B. Hoy




                    [Signature Page for Carestream Health International Holdings, Inc.]
            Case 22-10785-JKS     Doc 1   Filed 08/23/22     Page 30 of 33




        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
first written above.
                                             CARESTREAM HEALTH, INC., being the
                                             Sole Member of the Company listed on
                                             Schedule 9



                                              By:     /s/ Scott H. Rosa
                                                    Name: Scott H. Rosa
                                                    Title: Vice President and
                                                            Chief Financial Officer
             Case 22-10785-JKS      Doc 1      Filed 08/23/22   Page 31 of 33




                                        Schedule 1
    Board of Directors: Robert V. Baumgartner, Joseph F. Dooley, William A. Sanger,
 Eliot L. Siegel, M.D., Michael L. Smith, David C. Westgate, Patrick J. Bartels, Jr., Adam
                                          Cobourn

                 Company                                        Jurisdiction
Carestream Health Holdings, Inc.                                 Delaware


                                          Schedule 2

    Board of Directors: Robert V. Baumgartner, Joseph F. Dooley, William A. Sanger,
 Eliot L. Siegel, M.D., Michael L. Smith, David C. Westgate, Patrick J. Bartels, Jr., Adam
                                          Cobourn

                 Company                                        Jurisdiction
Carestream Health, Inc.                                          Delaware


                                          Schedule 3

                             Board of Directors: Alisa B. Hoy

                 Company                                        Jurisdiction
Carestream Health World Holdings LLC                             Delaware


                                          Schedule 4

                             Board of Directors: Alisa B. Hoy

                 Company                                        Jurisdiction
Carestream Health Canada Holdings, Inc.                          Delaware


                                          Schedule 5

                             Board of Directors: Alisa B. Hoy

                 Company                                        Jurisdiction
Carestream Health International Management
                                                                 Delaware
Company, Inc.
             Case 22-10785-JKS        Doc 1      Filed 08/23/22   Page 32 of 33




                                         Schedule 6

                          Sole Member: Carestream Health, Inc.

                 Company                                          Jurisdiction
Carestream Health Acquisition, LLC                                 Delaware


                                         Schedule 7

                             Board of Directors: Alisa B. Hoy

                Company                                           Jurisdiction
Lumisys Holding Co.                                                Delaware


                                         Schedule 8

                             Board of Directors: Alisa B. Hoy

                 Company                                          Jurisdiction
Carestream Health International Holdings, Inc.                     Delaware


                                         Schedule 9

                          Sole Member: Carestream Health, Inc.

                 Company                                          Jurisdiction
Carestream Health Puerto Rico, LLC                                Puerto Rico
                          Case 22-10785-JKS                      Doc 1     Filed 08/23/22            Page 33 of 33



    Fill in this information to identify the case and this filing:

   Debtor Name          Carestream Health World Holdings, LLC

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        08/23/2022                                /s/ Scott Rosa
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Scott Rosa
                                                                                 Printed name
                                                                                 Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
